          Case 4:14-cv-00051-JLH Document 34 Filed 01/22/15 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

MICHAEL BULL                                                                         PLAINTIFF

v.                                   No. 4:14CV00051 JLH

NATIONWIDE MUTUAL FIRE
INSURANCE COMPANY                                                                 DEFENDANT

                                          JUDGMENT

       Pursuant to the Opinion and Order entered separately today, judgment is entered in favor of

Nationwide Mutual Fire Insurance Company on the claims of Michael Bull. Michael Bull’s

complaint is dismissed with prejudice, and the relief he seeks is denied.

       IT IS SO ORDERED this 22nd day of January, 2015.



                                                     __________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
